DOCUMENTS UNDER SEAL
                     Case 4:19-cr-00043-YGR Clear
                                             Document
                                                  Form 92 Filed 05/01/19 Page 11of
                                                             TOTAL TIME (m ins):
                                                                                   1
                                                                                 hour and 36 minutes
M AGISTRATE JUDGE                           DEPUTY CLERK                               REPORTER/FTR
M INUTE ORDER                               Indira Aguilar                             9:38am to 11:14am
MAGISTRATE JUDGE                            DATE                                       NEW CASE          CASE NUMBER
Kandis A. Westmore                          5/1/2019                                                     19-cr-00043-YGR-7
                                                         APPEARANCES
DEFENDANT                                    AGE       CUST  P/NP   ATTORNEY FOR DEFENDANT                      PD.      RET.
Cameron Moore-Williams                                 Y      P        Julia Jayne and Ashley Riser             APPT.
U.S. ATTORNEY                                INTERPRETER                             FIN. AFFT               COUNSEL APPT'D
Shiao Lee                                                                            SUBMITTED

PROBATION OFFICER             PRETRIAL SERVICES OFFICER                DEF ELIGIBLE FOR                PARTIAL PAYMENT
                              Katrina Chu                              APPT'D COUNSEL                  OF CJA FEES
                                        PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR              PRELIM HRG       MOTION           JUGM'T & SENTG                                STATUS
                                                                                                                   TRIAL SET
       I.D. COUNSEL                ARRAIGNMENT               BOND HEARING             IA REV PROB. or              OTHER
                                                                                      or S/R
       DETENTION HRG               ID / REMOV HRG            CHANGE PLEA              PROB. REVOC.                 ATTY APPT
        96 mins                                                                                                    HEARING
                                                       INITIAL APPEARANCE
        ADVISED                   ADVISED                    NAME AS CHARGED             TRUE NAME:
        OF RIGHTS                 OF CHARGES                 IS TRUE NAME
                                                           ARRAIGNM ENT
       ARRAIGNED ON                 ARRAIGNED ON               READING W AIVED                W AIVER OF INDICTMENT FILED
       INFORMATION                  INDICTMENT                 SUBSTANCE
                                                            RELEASE
      RELEASED            ISSUED Unsecured             AMT OF SECURITY         SPECIAL NOTES                 PASSPORT
      ON O/R              APPEARANCE BOND              $ 75,000                                              SURRENDERED
                                                                                                             DATE:
PROPERTY TO BE POSTED                            CORPORATE SECURITY                        REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL PostBail          DETAINED         RELEASED         DETENTION HEARING                REMANDED
      FOR             SERVICES Report                                              AND FORMAL FINDINGS              TO CUSTODY
      DETENTION       REPORT addendum                                              W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                              PLEA
    CONSENT                      NOT GUILTY                  GUILTY                     GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                  CHANGE OF PLEA              PLEA AGREEMENT             OTHER:
    REPORT ORDERED                                           FILED
                                                           CONTINUANCE
TO:                               ATTY APPT                   BOND                    STATUS RE:
5/30/2019                         HEARING                     HEARING                 CONSENT                   TRIAL SET

AT:                               SUBMIT FINAN.               PRELIMINARY             CHANGE OF                 STATUS
                                  AFFIDAVIT                   HEARING                 PLEA
1:00PM                                                        _____________
BEFORE HON.                       DETENTION                   ARRAIGNMENT             MOTIONS                   JUDGMENT &
                                  HEARING                                                                       SENTENCING
YGR
       TIME W AIVED               TIME EXCLUDABLE             IDENTITY /              PRETRIAL                  PROB/SUP REV.
                                  UNDER 18 § USC              REMOVAL                 CONFERENCE                HEARING
                                  3161                        HEARING
                                                   ADDITIONAL PROCEEDINGS
Proffers presented to the Court by all parties. Deft. to reside with custodian until bed space and placement at the Halfway
House is available, which will be in a few weeks. Deft. to report to Pretrial Srvc. 5/2/19 at 10:00am for GPS monitoring fitting.
Pretrial to prepare an addendum to the Post Bail Report. cc: Frances
                                                                                            DOCUMENT NUMBER:
